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                              UNITED STATES BANKRUPTCY COURT 
                                 MIDDLE DISTRICT OF FLORIDA 
                                     ORLANDO DIVISION 
                                               
 
IN RE:                                              
                                                    
Petr Vach,                                                CASE NO. 6:19‐bk‐00976‐KSJ 
Heather Dawn Vach,                                        CHAPTER 7 
                                                  
             Debtors.                             
 
                                            PROOF OF SERVICE 
                                                       
       I  hereby  certify  that  a  true  and  correct  copy  of  the  ORDER  AUTHORIZING  CHAPTER  7 

TRUSTEE’S  APPLICATION  TO  RETAIN  BK  GLOBAL  REAL  ESTATE  SERVICES  TO  PROCURE 

CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327 (Doc. # 19) was served by electronic 

notice, if registered in the Electronic Case Filing System, otherwise by first class postage prepaid 

U.S. Mail on April 12, 2019 to the following: 

       Petr Vach, 910 Hawk Landing, Fruitland Park, FL 34731 
       Heather Dawn Vach, 910 Hawk Landing, Fruitland Park, FL 34731 
       Andrea B Anderson, 1000 Legion Place Ste 1000, Orlando, FL 32801 
       BK Global, 1095 Broken Sound Parkway NW, Ste. 100, Boca Raton, FL 33487 
 
 
                                                 Respectfully submitted 
                                                  
                                                 /s/ Lori Patton 
                                                 Lori Patton, Trustee 
                                                 PO Box 520547 
                                                 Longwood, FL 32752 
                                                 Phone: (407) 937‐0936 
                                                     
